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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

 In re:                                        Chapter 11

 HIGHLAND CAPITAL MANAGEMENT, L.P.             Case No. 19-34054 (SGJ)

                    Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION              Adv. Pro. No. 21-03076-sgj
 TRUSTEE OF THE LITIGATION SUB-
 TRUST,

                    Plaintiff

          v.

 JAMES D. DONDERO; MARK A. OKADA;
 SCOTT ELLINGTON; ISAAC LEVENTON;
 GRANT JAMES SCOTT III; STRAND
 ADVISORS, INC.; NEXPOINT ADVISORS,
 L.P.; HIGHLAND CAPITAL MANAGEMENT
 FUND     ADVISORS,   L.P.; DUGABOY
 INVESTMENT TRUST        AND NANCY
 DONDERO, AS TRUSTEE OF DUGABOY
 INVESTMENT TRUST; GET GOOD TRUST
 AND GRANT JAMES SCOTT III, AS
 TRUSTEE OF GET GOOD TRUST; HUNTER
 MOUNTAIN INVESTMENT TRUST; MARK
 & PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1 AND LAWRENCE
 TONOMURA AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1; MARK & PAMELA
 OKADA FAMILY TRUST – EXEMPT TRUST
 #2 AND LAWRENCE TONOMURA IN HIS
 CAPACITY AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #2; CLO HOLDCO, LTD.;
 CHARITABLE     DAF   HOLDCO,    LTD.;
 CHARITABLE DAF FUND, LP.; HIGHLAND
 DALLAS FOUNDATION; RAND PE FUND I,
 LP, SERIES 1; MASSAND CAPITAL, LLC;
 MASSAND CAPITAL, INC.; AND SAS ASSET




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 RECOVERY, LTD.,

                     Defendants.




      NOTICE OF ISSUANCE OF SUBPOENA TO PROCUDE DOCUMENTS,
  INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES TO
                   ACIS CAPITAL MANAGEMENT, L.P.

       Defendants James Dondero, Scott Ellington, Isaac Leventon, Strand Advisors, Inc,

Nexpoint Advisors, L.P., Highland Capital Management Fund Advisors, L.P., Dugaboy

Investment Trust, Get Good Trust, Hunter Mountain Investment Trust, Rand PE Fund I, LP, Series

1, Counsel to CLO Holdco, Ltd., Highland Dallas Foundation, Charitable DAF Fund, LP,

Charitable DAF Holdco, Ltd., Mark Okada, The Mark and Pamela Okada Family Trust – Exempt

Trust #1, and The Mark and Pamela Okada Family Trust – Exempt Trust #2, by and through their

attorneys of record listed on Exhibit 1, intend to serve the Subpoena attached hereto as Attachment

“A,” pursuant to Rule 45 of the Federal Rules of Civil Procedure, as made applicable by Rule 9016

of the Federal Rules of Bankruptcy Procedure, on Acis Capital Management, L.P.

Dated: January 13, 2023                             DLA PIPER LLP (US)


                                                    /s/ Amy. L. Ruhland
                                                    Amy L. Ruhland (Rudd)
                                                    Texas Bar No. 24043561
                                                    amy.ruhland@us.dlapiper.com
                                                    303 Colorado Street, Suite 3000
                                                    Austin, TX 78701
                                                    Tele: 512.457.7000

                                                    Jason M. Hopkins
                                                    Texas Bar No.24059969
                                                    1900 N. Pearl Street, Suite 2200
                                                    Dallas, Texas 75201
                                                    Tel: 214-743-4500
                                                    Fax: 214-743-4545
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                                                    Attorneys for Defendants James Dondero,
                                                    Dugaboy Investment Trust, Get Good Trust,
                                                    Hunter Mountain Investment Trust, Rand PE
                                                    Fund I, LP, and Strand Advisors, Inc.



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 13, 2023, a true and correct copy of this
document was served electronically via the Court’s CM/ECF system to the parties registered or
otherwise entitled to receive electronic notices in this case.


                                                    /s/ Amy L. Ruhland
                                                    Amy L. Ruhland (Rudd)




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                                               Exhibit 1

       The name, address, email address, and telephone number of the attorneys representing the parties
who issue or request this subpoena are:


                                        By: /s/ Michelle Hartmann
                                             Michelle Hartmann
                                             State Bar No. 24032402
                                             BAKER & MCKENZIE LLP
                                             1900 North Pearl, Suite 1500
                                             Dallas, TX 75201
                                             Telephone: 214-978-3000
                                             michelle.hartmann@bakermckenzie.com
                                             and
                                             Debra A. Dandeneau (Admitted pro hac vice)
                                             Blaire Cahn (Admitted pro hac vice)
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                                             New York, NY 10018
                                             Telephone: 212-626-4875
                                             debra.dandeneau@bakermckenzie.com
                                             blaire.cahn@bakermckenzie.com
                                             Counsel to Scott Ellington and Issac Leventon


                                         By: /s/ Deborah R. Deitsch-Perez
                                            Deborah R. Deitsch-Perez
                                            State Bar No. 24036072
                                            Michael P. Aigen
                                            State Bar No. 24012196
                                            Stinson LLP
                                            2200 Ross Avenue, Suite 2900
                                            Dallas, TX 75201
                                            Telephone: 214-560-2201
                                            deborah.deitschperez@stinson.com
                                            michael.aigen@stinson.com

                                             Counsel to NexPoint Advisors, L.P., and Highland Capital
                                             Management Fund Advisors, L.P.




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                                 By: /s/ Amy L. Ruhland
                                    Amy L. Ruhland
                                    State Bar No. 24043561
                                    DLA Piper LLP
                                    303 Colorado Street, Suite 3000
                                    Austin, TX 78701
                                    Telephone: 512-457-7000
                                    Amy.Ruhland@us.dlapiper.com

                                    and

                                    Jason M. Hopkins
                                    State Bar No. 24059969
                                    1900 N. Pearl Street, Suite 2200
                                    Dallas, TX 75201
                                    Telephone: 214-743-4500
                                    jason.hopkins@us.dlapiper.com

                                    Counsel to James D. Dondero, Strand Advisors, Inc., The
                                    Dugaboy Investment Trust, The Get Good Trust, Hunter
                                    Mountain Investment Trust, and Rand PE Fund I, LP,
                                    Series I


                                 By: /s/ Louis M. Phillips
                                    Louis M. Phillips
                                    Kelly Hart Pitre
                                    One American Place
                                    301 Main Street, Suite 1600
                                    Baton Rouge, LA 70801
                                    Telephone: 225-381-9643
                                    louisphillips@kellyhart.com

                                    and

                                    Amelia L. Hurt
                                    (LA #36817, TX #24092553)
                                    400 Poydras Street, Suite 1812
                                    New Orleans, LA 70130
                                    Telephone: (504) 522-1812
                                    amelia.hurt@kellyhart.com

                                    and




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                                    Hugh G. Connor II
                                    State Bar No. 00787272
                                    Michael D. Anderson
                                    State Bar No. 24031699
                                    Katherine T. Hopkins
                                    State Bar No. 24070737
                                    KELLY HART & HALLMAN
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                                    katherine.hopkins@kellyhart.com
                                    Counsel to CLO Holdco, Ltd., Highland Dallas
                                    Foundation, Charitable DAF Fund, LP, and Charitable
                                    DAF Holdco, Ltd
                                 By: /s/ Brian D. Glueckstein
                                    Brian D. Glueckstein
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                                    New York, NY 10004
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                                    and

                                    Cortney C. Thomas
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                                    Dallas, TX 75225
                                    Telephone: (214) 327-5000
                                    cort@brownfoxlaw.com

                                    Counsel to Mark Okada, The Mark and Pamela Okada
                                    Family Trust – Exempt Trust #1, and The Mark and
                                    Pamela Okada Family Trust – Exempt Trust #2




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             PROPOSED PRODUCTION SPECIFICATIONS FOR
ELECTRONICALLY STORED INFORMATION (“ESI”) AND HARD COPY DOCUMENTS
A. DOCUMENT CATEGORIES

     1. Email, Attachments, and Other Electronic Messages

 Email and other electronic messages (e.g., instant messages (IMs)) should be produced as image files
 with related searchable text, metadata and bibliographic information. Depending on how the company's
 systems represent names in email messages or IMs, we may require a table of names or contact lists from
 custodians. Electronic messages include, but are not limited to, messages sent via (a) Android/Google
 Messages, Blackberry Messenger, Discord, Facebook Messager, GroupMe, iMessage, IMO, KIK,
 Samsung Messaging, Signal, Skype, Telegram Viber, WeChat, WhatsApp, and any other short
 messaging service (SMS) application, and (b) any business messaging platforms including Bloomberg
 IM, Chanty, Google Chat, MS Teams, Rocket, Slack, Yammer and any other comparable application.

 Email repositories, also known as email databases (e.g., Outlook .PST, Lotus .NSF), can contain a variety
 of items, including messages, calendars, contacts, tasks, etc. For purposes of production, responsive items
 should include the “Email” metadata/database fields outlined in the Metadata Table, including but not
 limited to all parent items (mail, calendar, contacts, tasks, notes, etc.) and child files (attachments of files
 to email or other items), with the parent/child relationship preserved. Similar items found and collected
 outside an email repository
 (e.g., .MSG, .EML, .HTM, .MHT) should be produced in the same manner.
     2. Electronic Documents
 Electronic documents include word-processing documents, spreadsheets, presentations, and all other
 electronic documents not specifically discussed elsewhere. Production of these items should include
 image files with related searchable text, metadata, and bibliographic information. All passwords and
 encryption must be removed from electronic documents prior to production. Please note the following:
              a. Presentations -- Presentations should be produced in full slide image format along
                 with speaker notes (which should follow the full images of the slides) with related
                 searchable text, metadata, and bibliographic information. Presentations should also
                 be produced in native format (e.g.,
                 as .PPT files). The linked native file name should match the
                 BEGDOC#/DOCID with the appropriate file extension.

              b. Spreadsheet Files -- Spreadsheets should be produced in native format (e.g., as
                 .XLSX files), with searchable text for the entire document, metadata, and
                 bibliographic information. Provide a single placeholder image. The
                 placeholder image must contain at a minimum the BEGDOC#,
                 FILENAME, and FILEPATH. The Bates range for a spreadsheet should be
                 a single number (e.g., ABC00000001 – ABC00000001). The linked native file
                 name should match the BEGDOC#/DOCID with the appropriate file extension.

              c. Hidden Files -- All hidden text (e.g., track changes, hidden columns, hidden slides,
                 mark-ups, notes) shall be expanded and rendered in the extracted text file. For files that
                 cannot be expanded linked native files shall be produced with the image files.




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             d. Embedded Files -- All embedded objects (e.g., graphical files, Word documents, Excel
                spreadsheets, .wav files) that are found within a file shall be produced so as to maintain
                the integrity of the source document as a single document. For purposes of production
                the embedded files shall remain embedded as part of the original source document.
                Hyperlinked files must be produced as separate, attached documents. Any objects that
                cannot be rendered to images and extracted text (e.g., .wav, .avi files) must be produced
                as separate extracted files treated as attachments to the original file.
             e. Image-Only Files -- All image-only files (non-searchable .PDFs, multi-page
                TIFFs, Snipping Tool screenshots, etc., as well as all other images that contain
                text) shall be produced with associated OCR text, metadata, and bibliographic
                information.
             f.   Archive File Types -- Archive file types (e.g., .zip, .rar) must be uncompressed for
                  processing. Each file contained within an archive file should be produced as a child to
                  the parent archive file. If the archive file is itself an attachment, that parent/child
                  relationship must also be preserved.
             g. Non-Standard Files -- Non-standard electronic files include, but are not limited to,
                system files, source code, transactional data, database files, audio and video files, and
                proprietary applications not publicly available. Database files should be produced both
                in native format, where possible, and also exported and produced in .xlsx format. Upon
                request and demonstration of need, productions of these types of files will be
                negotiated between the parties to determine a reasonable production format. Note that
                some non-standard files may be included in the production as part of a native container
                file, such as ZIP or MSG files.

     3. Hard-Copy (or Paper) Documents

 Hard-copy documents are to be produced as black-and-white image files, except where noted below,
 with related searchable OCR text and bibliographic information. Special attention should be paid to
 ensure that hard-copy documents are produced as they are kept, reflecting attachment relationships
 between documents and information about the file folders within which each document is found. In
 addition, a multi-page document must be produced as a single document (i.e., properly unitized) and
 not multiple single-page documents. Where the original document is in color, that image should be
 produced in color. These color images are to be produced as .jpg format. Hard-copy photographs should
 be produced as color .jpg, if originally in color, or grayscale .tif files if originally in black-and-white.

     4. Parent-Child Relationships

 Ensure that the association of families (i.e., between emails and attachments are preserved.) Email
 attachments are consecutively produced with the parent email record.

B. PRODUCTION FORMAT

     5. Bates/Numbering Format

                 files are named according to the Bates number of the TIFF image or native.
                 consistent across the production;
                 contains no special characters; and
                 is numerically sequential within a given document.



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              attachments to documents are assigned Bates numbers that directly follow the Bates
               numbers on the documents to which they were attached.

    6. Image/Native File Specifications

              Black-and-white Group IV Single-Page TIFFs (300 DPI). Color images should
               be provided in .JPG format for all native files containing color.
              Image file names should match the page identifier for that specific image and end
               with the .tif (or .jpg if needed) extension.
              File names cannot have embedded spaces, commas, underscores, ampersands,
               slashes, back slashes, hash marks, plus signs, percent signs, exclamation marks,
               any character used as a delimiter in the metadata load files, or any character not
               allowed in Windows file-naming convention. (, _ & \ / # + % ! : * ? “ < > | ~ @
               ^)
              Images for a given document must reside together in the same folder.
              The maximum number of image and native files should be limited to 5,000 per folder.
              Native file names should match the BEGDOC#/DOCID entry for that specific
               record and end with the appropriate file extension.
              Any encryption or password protection will be removed from all native format files
               produced.

    7. Searchable Text File Specifications

              Extracted text should be provided with all records, where available.
                     For hard copy documents, please provide OCR text.
                     For redacted documents, provide OCR text for the redacted version.
              There should be a single extracted/OCR text file per document, in ASCII Text format
               only.
              The name of the text file should be the same as the document's first page/Bates
               number, with a TXT extension: DOCID.TXT.
              There must be a carriage return and line feed (CRLF) no later than the 250th character
               of the first line of every text file.
              All soft and hard returns in the native electronic or image file should be replicated as a
               Carriage Return Line Feed (CRLF) in the text file (i.e. the lines of text in the file
               terminate with a CRLF in correlation with the appearance of the native electronic or
               rendered image file).
              Text files should include page breaks that correspond to the “pagination” of the image
               files.
              Place text files under a "FULLTEXT" folder and provide a Control List file for
               loading in the “LOADFILES” folder on the delivery media

    8. Metadata Load File Delimiters (.dat)

              Field Separator ¶ (ASCII 020)
              Text Qualifier þ (ASCII 254)
              Substitute Carriage Return or New Line in data ® (ASCII 174)
              Multi-value separator (Do Not Follow with Space) ; (ASCII 059)
              Date format MMDDYYY (date type fields only)
              Time format HH:MM:SS in 24-hour format (e.g., 04:32 pm formatted to


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                  16:32:00 – Do not include AM, PM, or Timezone indicators). All times should
                  be normalized to the UTC time standard.
                 There should be one line for every record in the load file. A carriage return and line
                  feed (CRLF) must appear at the end of each record and only at the end of each record.
                 The first row of each metadata load file should be a header row containing the field
                  names. Field names must match Division Metadata Table field names.
                 All requested fields should be present in the metadata load file whether data exists
                  or not. Field order must remain consistent in subsequent productions.

    9. Opticon Image Load File (.opt)

                 ImageFilePath – The path to the image from the root of the delivery media.
                 DocumentBreak – The letter “Y” denotes the first page of a document. If this field
                  is blank the page is not the first page of a document.
                 PageCount – Optional
                 Example - ABC00000001, ABC001,.\Images\001\ ABC00000001.tif,Y,,,

    10. Standard Field List


  FieldName                   Field Name Description
  BEGBATES                    Unique beginning document or production number
  ENDBATES                    Ending document or production number
  BEGATTACH                   Displays BEGBATES # of parent record.
  ENDATTACH                   ENDBATES # of last attached document in a family.
                              Stores BegBates # of parent record and EndDoc# of last
  ATTACHRANGE                 attachment
                              Yes/No field; Identifies parent document (only need to
  Is Parent                   populate yes for parent documents)
                              The first document/bates number for each parent record;
  PARENT ID                   populated only for attachments
                              First document/bates number of each attachment,
  CHILD ID                    separated by semicolons.
                              Populates parent records with original filenames of all
  Attach                      attached records, separated by semi-colons
  NUMATTACH                   Total number of records attached to the document
  CUSTODIAN                   Source or Owner of Data
                              A list of all the owners of the documents (separated by
  ALL CUSTODIAN               semi-colons)
  EMAILTO                     Main recipient(s) of the email message
  EMAILFROM                   Author of email message
  EMAILCC                     Recipient(s) of "Carbon copies" of the email message
  EMAILBCC                    Recipient(s) of "Blind Carbon copies" of the email message
  EMAILSUBJECT                Subject of email message
                              Sent date and time of an email message using this format
  DATETIMESENT                DD/MM/YYYY HH:MM (using 24 hour clock)



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                     Received date and time of an email message using this
  DATETIMERECEIVED format DD/MM/YYYY HH:MM (using 24 hour clock)
                     Creation date and time of the native file using this format
  DATETIMECREATED DD/MM/YYYY HH:MM (using 24 hour clock)
  DATECREATED        Creation date of the native file
  TIMECREATED        Creation time of the native file
                     Date and time of the native file was last modified using this
  DATETIMEMODIFIED format DD/MM/YYYY HH:MM (using 24 hour clock)
  LASTAUTHOR         Last author who modified the document
                     Parent Date is populated for all family members (If e-mail
  DATESORT           "DATESENT," if loose "DATEMODIFIED"
                     Original filename of native file. Contains subject of email
  FILENAME           message for email records.
  DOCEXT             File extension of native file.
  AUTHOR             Author field value pulled from metadata of the native file
  FILERECORDTYPE     I.E. "e-jail" or "E-mail attachment" or "Loose File"
  File Size          size of the file (KB)
                     Loose Files: Subject field value extracted from metadata of
  DocumentSubject    native field.
  PGCOUNT            Number of pages in a document (image records)
                     Comments field value pulled from the metadata of the
  Comments           native file
  EntryID            Unique identifier of emails in mail stores
                     Description of native file types as listed in file type
  FileDescription    database
  MD5HASH            MD5HASH
  TIME ZONE          Time zone processed (note all times should be normalized to
                     the UTC time standard)
  ORIGINAL FOLDER    Fully qualified original path to the source folder, files,
  PATH               and/or mail stores
                     A list of all the native file paths to the document as
  ALLPATHS           it was kept in the ordinary course of business
                     (including documents removed through
                     deduplication). To the extent you are unable to
                     provide native file paths for deduplicated
                     documents, produce all versions of such document
                     with unique metadata, including native file path.
                     Title field value extracted from the metadata of the native
  TITLE              file (includes document title and/or title of the file)
  Conversation       Normalized subject of e-mails
  Conversation Index Email thread identification
  DateAppStart       Appointment start date for calendar items
  DateAppEnd         Appointment end date for calendar items
  DelivReceipt       Delivery receipt request notification
                     Yes/No field; Identifies if the document contains hidden
  HiddenText         content



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                       Yes/No field for identifying family members which are
  ISEMBEDDED           embedded
  Importance           Importance field extracted from an email message
  ReadReceipt          Read receipt request notification for email message
  Revision             Revision number extracted from metadata of native file
  Sensitivity          Sensitivity field extracted from email messages
  SEARCH HITS          Multiple Choice filed, include all terms document hits
  OCR PATH             Links text files
  NATIVE PATH          Links native files




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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
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                                      UNITED STATES BANKRUPTCY COURT
                 NORTHERN
  _________________________________________                              TEXAS
                                            District of _________________________________________
      HIGHLAND CAPITAL MANAGEMENT, L.P
In re __________________________________________
                                    Debtor
                                                                                                19-34054(SGJ)
                                                                                    Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                                11
                                                                                    Chapter ___________
MARC S. KIRSCHNER
_________________________________________
                                   Plaintiff
                                       v.                                                            21-03076-sgi
                                                                                    Adv. Proc. No. ________________
JAMES D. DONFERO, et al.
__________________________________________
                      Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
      Acis Capital Management, L.P. c/o CT Corporation Systems, 1999 Bryan St., Ste. 900, Dallas Texas 75201
                                           (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Attachment A.

 PLACE                                                                                                      DATE AND TIME
 DLA Piper, 1900 N. Pearl St., Ste. 2200, Dallas, TX 75201                                                        2/10/2023                    10:00 am

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                     DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

          1/13/2023
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                ________________________
                                                                                            /s/ Amy R. Ruhland
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature
                                                                                                Amy R. Ruhland
  The name, address, email address, and telephone number of the attorney representing (name of party)
  James D. Dondero, et al.
  ____________________________       , who issues or requests this subpoena, are:
  Amy R. Ruhland, 303 Colorado St., Ste. 3000, Austin TX 78701, 512-457-7000, amy.ruhland@us.dlapiper
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                         Attachment A


                                         DEFINITIONS

The following definitions shall apply herein:

   1. The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.
      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as
      necessary to bring within the scope of the discovery request all responses that might
      otherwise be construed to be outside of its scope. The use of the singular form of any word
      includes the plural and vice versa.
   2. The term “document” is defined to be synonymous in meaning and equal scope to the
      usage of the term “documents or electronically stored information” in Fed. R. Civ. P.
      34(a)(1)(A). A draft or non-identical copy is a separate document within the meaning of
      this term. “Document” shall be construed as a document and all attachments thereto.

   3. The terms “including” and “includes” are used to provide examples of certain types of
      information and should not be construed as limiting a request in any way. The term
      “including” shall be construed as if followed by the phrase “but not limited to,” irrespective
      of whether such phrase is explicitly stated or not.

   4. “Acis” means Acis Capital Management, L.P., Acis Capital Management GP, LLC, and
      any of their predecessors, successors, parents, subsidiaries, affiliates, agents, and counsel,
      including, but not limited to, Joshua Terry, and any attorneys with Winstead PC (including
      attorney Rakhee Patel), Forshey Prostok LLP (including attorney Jeff Prostok), Rogge
      Dunn Group, PC (including attorney Brian Shaw), and Carrington, Coleman, Sloman &
      Blumenthal, L.L.P. (including attorney Brian Shaw).

   5. “Acis Litigation” means any and all claims filed by Acis against HCMLP or any of its
      affiliates, including, but not limited to, Case No. 20-03060 filed in the United States
      Bankruptcy Court for the Northern District of Texas, Case No. 18-03078 filed in the United
      States Bankruptcy Court for the Northern District of Texas, and Case No. DC-20-05534
      filed in the 162nd Judicial District for Dallas County, Texas.

   6. “HCMLP” means Highland Capital Management, L.P.

   7. “Highland Bankruptcy” means the proceeding captioned, In re Highland Capital
      Management L.P., Case No. 19-34054 (SGJ), pending in the United States Bankruptcy
      Court for the Northern District of Texas.

   8. “Highland Party” means Highland Capital Management, L.P., any of its partners, general
      partners, subsidiaries, affiliates, managed or advised funds or accounts, employees, or
      professionals, including, but not limited to, Pachulski Stang Ziehl & Jones LLP,
      Development Specialists Inc., James Seery, Russel Nelms, and John Dubel.



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   9. “Redeemer Committee” means the Redeemer Committee of the Highland Crusader Fund,
      a committee of investors, elected pursuant to the Scheme and Plan of Liquidation of the
      Highland Crusader Funds (the “Crusader Fund”) approved by the Bermuda Court, to
      oversee Highland’s management of the Crusader Fund through what was intended to be
      the complete liquidation of the fund.

   10. “Terry” means Joshua Terry.

   11. “Terry Arbitration” means the arbitration filed by Joshua Terry against Acis Capital
       Management, L.P. and HCMLP in JAMS Ref. No. 310022713.

   12. “Terry Litigation” means any and all claims filed by Terry against HCMLP or any of its
       affiliates, including, but not limited to, the involuntary bankruptcy proceeding filed by
       Joshua Terry against Acis Capital Management, L.P. and Acis Capital Management GP,
       LLC in Case Nos. 18-30264 and 18-30265 (jointly administered), Case No. DC-16-11396
       filed in the 162nd Judicial District for Dallas County, Texas, and Case No. DC-17-15244
       filed in the 44th Judicial District for Dallas County, Texas.

   13. “UCC” means the Official Committee of Unsecured Creditors in the Highland Bankruptcy.

   14. “UCC Party” means the Official Committee of Unsecured Creditors in the Highland
       Bankruptcy, including each of its agents, members, and their respective agents. This
       specifically includes, but is not limited to, Sidley Austin LLP, FTI Consulting, Inc., any
       representative of Acis Capital Management, L.P., including Winstead, P.C. (including
       attorney Rakhee Patel), Forshey Prostok LLP (including attorney Jeff Prostok), Rogge
       Dunn Group, PC (including attorney Brian Shaw), Carrington, Coleman, Sloman &
       Blumenthal, L.L.P. (including attorney Brian Shaw), the Redeemer Committee, Jenner &
       Block LLP (including attorney Terri Mascherin), GCM Grosvenor, Grosvenor Capital
       Management LP, Eric Felton, Burke Montgomery, Stuart Robertson, UBS AG London
       Branch and UBS Securities LLC, including its counsel Latham & Watkins LLP (including
       attorney Andrew Clubok), Meta-e Discovery, LLC, Paul McVoy, and Morrison Cohen
       LLP.



                                REQUESTED DOCUMENTS

   1. All documents and communications exchanged between any Highland Party and any UCC
      Party including, but not limited to, any documents and communications exchanged
      between Acis and any Highland Party.

   2. All non-privileged documents and communications by and amongst any UCC Party
      relating to the Highland Bankruptcy, including any communications reflecting any
      business deliberations, votes, decisions, or resolutions of the UCC.

   3. All documents and communications exchanged between Acis and any UCC Party.



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   4. All pleadings and motions submitted to the arbitrator in the Terry Arbitration.

   5. All hearing and trial exhibits admitted in the Terry Arbitration.

   6. All hearing and deposition transcripts from the Terry Arbitration.

   7. All correspondence to or from the arbitrator(s) or any opposing party in the Terry
      Arbitration.

   8. All non-privileged communications relating to the Terry Arbitration.

   9. All hearing and trial exhibits admitted in the Terry Litigation.

   10. All deposition and hearing transcripts from the Terry Litigation.

   11. All correspondence to or from the court or any opposing party in the Terry Litigation.

   12. All non-privileged communications relating to the Terry Litigation.

   13. All hearing and trial exhibits admitted in the Acis Litigation.

   14. All deposition and hearing transcripts from the Acis Litigation.

   15. All correspondence to or from the court or any opposing party in the Acis Litigation.

   16. All non-privileged communications relating to the Acis Litigation.

   17. All documents and communications relating to any negotiation or settlement of Proof of
       Claim No. 23 filed in the Highland Bankruptcy.

   18. All documents and communications relating to the sale of Proof of Claim No. 23 filed in
       the Highland Bankruptcy.




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